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                                                                        USDC SDNY
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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 9/21/2020
------------------------------------------------------------------X
  ENG BOCK CHIA, RUI GUI WU, YUE MING :
  LIN, GRACE WU, CINDY LIN, XIN QIANG :
  YU, GUI XIANG DONG, CHIN KOK HING, :
  WAI HO NG, JIANWEI XU, and WONG KAM :                                    1:17-cv-5885-GHW
  FOONG,                                                          :
                                                                  :            ORDER
                                                                  :
                                               Plaintiffs,        :
                                                                  :
                              -v-                                 :
                                                                  :
  520 ASIAN RESTAURANT CORP. et al,                               :
                                                                  :
                                             Defendants.          :
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GREGORY H. WOODS, United States District Judge:
         Following a bench trial that began on July 20, 2020, the Court entered judgment in this case

on August 28, 2020. Dkt. No. 140.

         The Clerk of Court is directed to terminate all pending motions, adjourn all deadlines, and

close this case.

 SO ORDERED.

 Dated: September 21, 2020                                    _____________________________________
                                                                       GREGORY H. WOODS
                                                                      United States District Judge
